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IN THE UNITED sTATES DISTRICT CoURT ‘ "'" - -- ’-‘f»`-
FOR THE WESTERN DISTRICT oF TENNESSEE ‘,~,5; mm \j, ;7 P};T h_
WESTERN DIVISIoN " ' " ' 1 .- L:.S

UNITED STATES OF AMERICA,

 

Plaintiff,

V. No. 02-20027-B

FREDDIE PETERS,

Defendant.

 

()RDER OF REFERENCE

 

Before the court is Defendant’s Motion for Bail Pending Re-Sentencing filed on May 17,
2005.

This motion is referred to the United States Magistrate Judge for determination. Any
objections to the magistrate judge’s order shall be made within ten (10) days after Service of the
order, setting forth particularly those portions of the order objected to and the reasons for the

objectionsl

IT IS SO ORI)EREI) this l 'iql`day of May, 2005.

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J. DANIEL BREEN \
NIT D STATES DISTRICT JUDGE

 

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UNITED `sETAT DISTRIC COURT - WESTERN D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy cfthc document docketed as number 122 in
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Honcrable J. Breen
US DISTRICT COURT

